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           IN THE UNITED STATES COURT OF APPEALS

                        FOR THE FIFTH CIRCUIT
                             _______________________
                                                                United States Court of Appeals
                                 No. 14-60675                            Fifth Circuit

                              Summary Calendar                         FILED
                           _______________________                  May 8, 2015
                         D.C. Docket No. 4:98-CR-22-1             Lyle W. Cayce
                                                                       Clerk
UNITED STATES OF AMERICA,

             Plaintiff - Appellee
v.

DERWIN RENWICK MCWAINE, also known as Skibow,

             Defendant - Appellant

              Appeal from the United States District Court for the
                 Northern District of Mississippi, Greenville

Before KING, JOLLY and HAYNES, Circuit Judges.

                                JUDGMENT

       This cause was considered on the record on appeal and the briefs on file.

       It is ordered and adjudged that the appeal is dismissed as frivolous.




                                                 Certified as a true copy and issued
                                                 as the mandate on Jun 01, 2015
                                                 Attest:
                                                 Clerk, U.S. Court of Appeals, Fifth Circuit
